                                                                              FILED  06/01/2020
       Case 9:20-cv-00082-DWM Document 1-7 Filed 06/09/20 Page 1 of 3               Shirley Faust
                                                                                       CLERK
                                                                            Missoula County District Court
                                                                               STATE OF MONTANA
                                                                             By: Laura
                                                                                 __________________
                                                                                        Driscoll
Hon. Robert L. Deschamps,III                                                 DV-32-2020-0000604-OC
                                                                              Deschamps, Robert L III
Fourth Judicial District Missoula                                                       6.00
County Courthouse 200 West
Broadway Street Missoula, MT
59802
(406) 258-4780




     IN THE FOURTH JUDICIAL DISTRICT COURT OF MONTANA
                     MISSOULA COUNTY

 STEVE NELSON, MICHAEL                    Cause No. DV-32-2020-0000604-OC
                                          Dept. No. 2
 BOEHM and BONNER PROPERTY
                                          Hon. Robert Deschamps
 DEVELOPMENT, LLC,

             Plaintiffs,
                                              TEMPORARY RESTRAINING
       vs.                                            ORDER
                                                       AND
 PROJECT SPOKANE, LLC, and                       ORDER TO APPEAR
 SEAN WALSH,                                     AND SHOW CAUSE

             Defendants.

      Upon motion of Plaintiffs for a Temporary Restraining Order and

Preliminary Injunction, the Court finds that a Temporary Restraining Order

should be issued without notice to the adverse parties under § 27-19-314

and 316. There is risk of immediate and irreparable injury to Plaintiffs.

      Accordingly, for the reasons set forth in the motion and supporting

documentation,



                                                                        Exhibit F
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      IT IS HEREBY ORDERED:

      1.    The application for Temporary Restraining Order is GRANTED

            1st day of ____________
as of this ____         June                 3:25 __.m.
                                    2020, at _____ p

      2.    Defendants are enjoined from conducting or otherwise

effectuating any sale of any property located at the Bonner Mill Site in

Missoula County, Montana, commonly known as 9144 Bonner Mill Road,

Bonner, Montana, 59823.

      3.    Neither Defendants nor any of their agents shall dispose of or

damage any of the property previously or currently located at the Bonner

Mill Site in Missoula County, Montana, commonly known as 9144 Bonner

Mill Road, Bonner, Montana, 59823.

      4.    This Order shall be immediately filed in the clerk’s office and

entered in the record.

      5.                                                       23rd day of
            The parties shall appear before this Court on the ____

June
___________          11:00
            2020, at ______ a
                            __.m., Missoula County Courthouse, 200

West Broadway Street, Missoula, Montana, 59802, then and there to show

cause why a preliminary injunction should not issue.
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      DATED this ____ day of June, 2020.



                                __________________________
                                Hon. Leslie Halligan
                                District Court Judge




cc:   Rhoades Siefert & Erickson (Rhoades, Erickson)
      Peter Ito, Ito Law Group, 1550 Larimer Street, Suite 667, Denver, Colorado,
      80202, peter@itolawgroup.com




                                                                Electronically Signed By:
                                                          Hon. Judge Robert L. Deschamps, III
                                                            Mon, Jun 01 2020 03:27:12 PM
